         Case 1:17-cv-07997-GBD Document 31 Filed 01/01/18 Page 1 of 12



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

------------------------------------------------X
FILOGONIO MIRANDA,

                                 Plaintiff,
                                                    17 Civ. 07997 (GBD)
        --against --


BRICKLANE CURRY HOUSE TOO INC. (D/B/A
BRICKLANE CURRY HOUSE), BLCH I LLC
(D/B/A BRICK LANE CURRY HOUSE), AND
SATINDER SHARMA,

                          Defendants.
------------------------------------------------X




                          MEMORANDUM OF LAW IN SUPPORT OF
                       DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S
                                AMENDED COMPLAINT




                                                             Brian Lehman
                                                             Lehman LG LLC
                                                             244 5th Ave., Suite B258
                                                             New York, NY 10001
                                                             Attorney for Defendants
        Case 1:17-cv-07997-GBD Document 31 Filed 01/01/18 Page 2 of 12



       Defendants Bricklane Curry House Too Inc., BLCH I LLC, and Satinder Sharma, submit

this memorandum of law in support of their motion to dismiss Plaintiff’s Amended Complaint

pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure (“Federal Rules”). There are

no factual allegations in the Amended Complaint that give rise to the plausible claim that the

Defendants – two companies and one individual person – are either a “joint employer” or a

“single employer” of Plaintiff.

I.     THE FACTUAL ALLEGATIONS MUST GIVE RISE TO PLAUSIBLE CLAIMS

       When considering a motion to dismiss under Rule 12(b)(6), a court should “draw all

reasonable inferences in [the plaintiffs’] favor, assume all well-pleaded factual allegations to be

true, and determine whether they plausibly give rise to an entitlement to relief.” Faber v. Metro.

Life Ins. Co., 648 F.3d 98, 104 (2d Cir. 2011) (quotation marks and citation omitted). “To

survive a motion to dismiss, a complaint must contain sufficient factual matter, accepted as true,

to `state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).

       Thus, to assess whether a complaint states a plausible claim of relief, a court (1) first

identifies the well-pleaded factual allegations by discarding the pleadings that are no more than

conclusions and (2) then determines whether the remaining well-pleaded factual allegations

plausibly give rise to an entitlement of relief. See id. Both the FLSA and the NYLL require more

than vague legal conclusion to survive a Rule] 12(b)(6) motion. See Lundy v. Catholic Health

Sys. of Long Island Inc., 711 F.3d 106, 114 (2d Cir. 2013); Dejesus v. HF Mgmt. Serv., LLC, 726

F. 3d 85, 89-90 (2d Cir. 2013) (Pruell v. Caritas Christi, 678 F.3d 10, 12 (1st Cir. 2012));




                                                1
           Case 1:17-cv-07997-GBD Document 31 Filed 01/01/18 Page 3 of 12



Nakahata v. New York-Presbyterian Healthcare Sys., Inc., 723 F.3d 192 (2d Cir. 2013), cert.

denied, 134 S. Ct. 918 (2014).1

II.      PROCEDURAL BACKGROUND

         On October 17, 2017, Plaintiff Filogonio Miranda filed a complaint on his own behalf

and on behalf of other employees alleged to be similarly situated (CM/ECF No. 1). The initial

complaint alleged that Plaintiff was the employee of two separate companies (one corporation

and one LLC) that were part of a “chain” of Indian restaurants owned by the Individual

Defendant. Plaintiff alleged that he typically worked a total of 54.5 hours per week for these two

corporations.

         Plaintiff’s two federal claims allege that these defendants failed to pay him (1) minimum

wage and (2) overtime wages.2 Defendants moved to dismiss Plaintiff’s complaint on the ground

that Plaintiff failed to allege any facts that would support a plausible claim that they were

Plaintiff’s joint employers rather than two separate corporations owned by an individual. In

response, Plaintiff filed an Amended Complaint (CM/ECF No. 29).

         A comparison of the two complaints (Exhibit A & B3) shows that there are two primary

differences between the initial and amended complaint: First, Plaintiff has changed the

complaint from a collective action to an individual action, removing any allegations pertaining to

other employees in his complaint. See Exhibit A (red highlighting indicating allegations removed


1
 Lundy, Dejesus and Nakahata are the leading cases in the Second Circuit in the context of the
pleading standard for FLSA complaints. See Landers v. Quality Communications, Inc., 771 F.3d
638, 646 (9th Cir. 2014) (surveying and summarizing case law including the Second Circuit and
affirming dismissal of the complaint).
2
 Plaintiff also alleged that the court had supplemental jurisdiction under 28 U.S.C. § 1367(a)
over Plaintiff’s remaining six state law claims.
3
    Exhibits A & B are attached to the Declaration of Brian Lehman dated January 1, 2018.


                                                 2
         Case 1:17-cv-07997-GBD Document 31 Filed 01/01/18 Page 4 of 12



from initial complaint). Second, Plaintiff has added two new paragraphs of allegations. See

Exhibit B (green highlighting indicating allegations added to initial complaint).

       Paragraph 25 of the Amended Complaint alleges: “Defendants Satinder Sharma was

frequently present at the Defendant Corporations’ Brick Lane Curry House locations, and gave

commands to Brick Lane Curry employees therein, including Plaintiff Miranda. Defendant

Sharma would also require Plaintiff Miranda to watch over his car as part of his duties at Brick

Lane Curry House.” Am. Compl. ¶ 25.

       Paragraph 32 of the Amended Complaint (which must be read in conjunction with

paragraph 31) alleges:

               31. In the alternative, Defendants constitute a single employer of Plaintiff
               Miranda.

               32. Plaintiff Miranda was required to work at both of Defendants’ Brick
               Lane Curry House locations at points in his employment with Defendants
               and instructed to attend both locations by the same managers to perform
               the same job. As further detailed infra, Plaintiff Miranda was paid the
               same fixed salary by the same individuals for his work at both Brick Lane
               Curry House locations.

Am. Compl. ¶¶ 31-32.4

       Defendants now move for the Amended Complaint to be dismissed under Rule 12(b)(6)

of the Federal Rules as it still does not allege facts that give rise to the plausible claim that the

Defendants – two corporation and one individual person – are either a “joint employer” or a

“single employer” of Plaintiff.




4
 Plaintiff has added a ninth claim under state law under paragraphs 116-119 of the Amended
Complaint alleging that Defendants did not pay him on a regularly weekly basis in violation of
New York Labor Law.


                                                 3
         Case 1:17-cv-07997-GBD Document 31 Filed 01/01/18 Page 5 of 12



III.   PLAINTIFF’S COMPLAINT DOES NOT ALLEGE WELL-PLEADED FACTS TO SUPPORT
       CLAIM THAT DEFENDANTS “JOINTLY EMPLOYED” PLAINTIFF

       The Amended Complaint does not state a claim for relief because Plaintiff does not allege

well-pleaded facts that allow this Court to infer that the two companies and individual owner are

“joint employers” of Plaintiff.

       In Pruell, the case cited by the Second Circuit in Dejesus, the First Circuit considered the

sufficiency of the plaintiffs’ statements that that they “‘regularly worked’ over 40 hours a week

and were not compensated for such time.” Id. at 12. The Pruell court described such allegations

as consisting of “borderline phrases,” which were “so threadbare or speculative that they fail to

cross ‘the line between the conclusory and the factual.’” Id. at 13. The court held that “the quoted

language is little more than a paraphrase of the statute,” id., and affirmed the district court’s

dismissal of the complaint for failure to state a claim. Id. at 15; see also Serrano v. I. Hardware

Distribs., Inc., No. 14 Civ. 2488, 2015 WL 4528170, at *3 (S.D.N.Y. July 27, 2015) (quoting

DeJesus, 726 F.3d at 89-90).

       This Court faces the same situation because Plaintiff’s allegations are nothing more than

a paraphrase of the statute or the elements of the claims that Plaintiff must ultimately prove.

Paragraphs 26-30 contain Plaintiff’s allegations under the heading “Defendants Constitute Joint

Employers.”

       26.    Defendants operate an Indian restaurant formerly located at 235 E 53rd St,
       New York, NY 10022 and currently located at 99 2nd Ave New York, NY 10003
       under the name “Brick Lane Curry House”.

       27.    Individual Defendant Satinder Sharma possesses operational control over
       defendant Corporations, possesses an ownership interest in defendant
       Corporations, and controls significant functions of defendant Corporations.

       28.     Defendants are associated and joint employers, act in the interest of each
       other with respect to employees, pay employees by the same method and share
       control over the employees.



                                                  4
        Case 1:17-cv-07997-GBD Document 31 Filed 01/01/18 Page 6 of 12



       29.   Each Defendant possessed substantial control over Plaintiff Miranda’s
       working conditions, and over the policies and practices with respect to the
       employment and compensation of Plaintiff Miranda, referred to herein.

       30. Defendants jointly employed Plaintiff Miranda and are Plaintiff Miranda’s
       employers within the meaning of 29 U.S.C. 201 et seq. and the NYLL.

Am. Compl. ¶¶ 26-30. For example, there are no facts in paragraph 29 to support the legal

conclusion that “Defendants are associated and joint employers, act in the interest of each other

with respect to employees, pay employees by the same method and share control over the

employees.” Am. Compl. ¶ 29.

       Merely reciting the elements of a joint employer arrangement—which is what Plaintiff

does here—is insufficient to plausibly allege joint employer status. See Cannon v. Douglas

Elliman, LLC, No. 06 Civ. 7092 (NRB), 2007 WL 4358456, at *5 (S.D.N.Y. Dec. 10, 2007)).

“Allegations of common ownership and common purpose, without more, do not answer the

fundamental question of whether each corporate entity controlled Plaintiffs as employees.” Lopez

v. Acme Am. Envtl. Co., No. 12 Civ. 511, 2012 WL 6062501, at *4 (S.D.N.Y. Dec. 6, 2012).

       Plaintiff has merely pled the elements of one of the two joint employer tests without

factual allegations. See Barfield v. N.Y.C. Health & Hosps. Corp., 537 F.3d 132, 141 (2d Cir.

2008).5 “When it comes to ‘employer’ status under the FLSA, control is key.” Lopez v. Acme

Am. Envtl. Co., No. 12 Civ. 511, 2012 WL 6062501, at *3 (S.D.N.Y. Dec. 6, 2012); see also

Herman, 172 F.3d at 135 (“[C]ontrol of employees is central to deciding whether appellant

should be deemed an employer.”). In assessing economic reality, the Second Circuit has

5
  The standard for employer status under NYLL is nearly identical to that of the FLSA and courts
in this District apply the same tests to determine whether entities are joint employers under the
NYLL and the FLSA. See, e.g., Spicer v. Pier Sixty LLC, 269 F.R.D. 321, 335 n. 13 (S.D.N.Y.
2010); Glatt v. Fox Searchlight Pictures Inc., 293 F.R.D. 516, 526-27 (S.D.N.Y. 2013)
(collecting cases); Irizarry v. Catsimatidis, 722 F.3d 99, 117 (2d Cir. 2013)) (“To be sure, the
New York Court of Appeals has not yet resolved whether NYLL’s standard for employer status
is coextensive with the FLSA’s, but there is no case law to the contrary.”).


                                                5
         Case 1:17-cv-07997-GBD Document 31 Filed 01/01/18 Page 7 of 12



articulated two tests for evaluating whether an employment relationship existed for the purposes

of the FLSA: (1) one relating to formal control and (2) one relating to functional control.

       The formal control test inquires “whether the alleged employer (1) had the power to hire

and fire the employees, (2) supervised and controlled employee work schedules or conditions of

employment, (3) determined the rate and method of payment, and (4) maintained employment

records.” Carter, 735 F.2d at 12 (quoting Bonnette v. Cal. Health & Welfare Agency, 704 F.2d

1465, 1470 (9th Cir. 1983)).

       The elements of the formal control test are alleged in conclusory fashion in paragraph 35:

“Defendants had the power to hire and fire Plaintiff Miranda, controlled the terms and conditions

of his employment, and determined the rate and method of any compensation in exchange for

Plaintiff Miranda’s services.” Am. Compl. ¶ 35. There are no factual allegations to support this

allegation.

       The functional control test relies upon a number of factors pertinent to determining

whether a person or entity, even if lacking formal control, exercised “functional control” over an

employee. In Zheng v. Liberty Apparel Co., 355 F.3d 61, 71-72 (2d Cir. 2003), which involved

an employer and its subcontractors, the Second Circuit identified six non-exclusive factors.

Plaintiff, however, does not even allege the elements of the functional control test – much less

facts that would support its application.

       Plaintiff’s failure to plead facts supporting a plausible assertion of joint employer liability

for the corporation, LLC and a single owner are particularly important in this case because the

Supreme Court has explained: “Where a complaint pleads facts that are merely consistent with a

defendant’s liability, it stops short of the line between possibility and plausibility of entitlement

to relief.” Id. A pleading that consists of “labels and conclusions” or “a formulaic recitation of




                                                  6
        Case 1:17-cv-07997-GBD Document 31 Filed 01/01/18 Page 8 of 12



the elements of a cause of action will not do.” Twombly, 550 U.S. at 555. Nor does a complaint

suffice if it tenders “naked assertion[s]” devoid of “further factual enhancement.” Id. at 557. A

pleading that does nothing more than recite bare legal conclusions is insufficient to “unlock the

doors of discovery.” Iqbal, 556 U.S. at 678-679; see also Twombly, 550 U.S. at 555.

       Here, properly pled factual allegations might show an obvious explanation for why

Plaintiff was working an alleged total of 54.5 hours per week at two restaurants: Two separate

corporate employers had hired Plaintiff for less than 40 hours per week. The Second Circuit has

held that such allegations would warrant immediate dismissal. See Lundy v. Catholic Health Sys.

of Long Island Inc., 711 F.3d 106, 114 (2d Cir. 2013). To state a claim, Plaintiff “must provide

sufficient detail about the length and frequency of their unpaid work” at each place of

employment in addition to facts that raise a plausible inference that these two corporations and

individual were his “joint employer.” Nakahata, 723 F.3d at 201. Otherwise, the claims must be

dismissed.

IV.    PLAINTIFF’S COMPLAINT DOES NOT ALLEGE WELL-PLEADED FACTS TO SUPPORT
       CLAIM THAT DEFENDANTS WERE A “SINGLE” EMPLOYER

       Plaintiff asserts an “alternative” theory” of employer liability. Paragraphs 31-33 of the

Amended Complaint alleges:

               31. In the alternative, Defendants constitute a single employer of Plaintiff
               Miranda.

               32. Plaintiff Miranda was required to work at both of Defendants’ Brick
               Lane Curry House locations at points in his employment with Defendants
               and instructed to attend both locations by the same managers to perform
               the same job. As further detailed infra, Plaintiff Miranda was paid the
               same fixed salary by the same individuals for his work at both Brick Lane
               Curry House locations.

               33. Upon information and belief, individual defendant Satinder Sharma
               operates Defendant Corporations as either alter egos of himself and/or
               fails to operate defendant Corporations as legal entities separate and apart
               from himself by . . . .


                                                 7
           Case 1:17-cv-07997-GBD Document 31 Filed 01/01/18 Page 9 of 12



Am. Compl. ¶¶ 31-33. While Plaintiff may be seeking to pierce the corporate veil of the two

corporations based on a theory of alter ego,6 these allegations fail to state a claim for three

reasons.

          First, the sole factual allegation is paragraph 32, but this allegation is too vague and

ambiguous to be credited. Plaintiff states that at least two (and perhaps more) unnamed managers

instructed him to “attend both locations.” Am. Compl. ¶ 32. But this vague allegation is

consistent with one manager at one location and another manager at another location. More

important, Plaintiff does not name the managers or attempt to state when they instructed him to

attend each restaurant (perhaps because naming those manager would clearly exculpate the one

Individual Defendant in this case from joint employer liability).7 Because it is an unspecific

allegation, it is not well pled.

          Second, the Supreme Court in Twombly rejected pleading by stating a legal conclusion on

“information and belief.” 550 U.S. 550-51. There, the complaint alleged an agreement in

conclusory terms based upon “information and belief” because plaintiffs did not have any proof

yet. See id. This did not satisfy the Federal Rules. See id.; see also Report of the New York State

Bar Association's Special Committee on Standards for Pleading in Federal Litigation at 21 n.99

(2010).



6
  The doctrine of “piercing the corporate veil” does not constitute a basis for an independent
cause of action under New York law. See Morris v. New York State Dept. of Taxation and
Finance, 82 N.Y.2d 135, 141, 603 N.Y.S.2d 827 (1993). Plaintiff, however, has not stated in
their prayer for relief that he wants the Court to pierce the corporate veil and for this reason alone
this alternative theory is not viable.
7
  See Diaz v. Consortium for Worker Educ., Inc., No. 10 Civ. 01848, 2010 WL 3910280, at *4
(S.D.N.Y. Sept. 28, 2010) (dismissing FLSA claims against defendants which plaintiffs did not
allege had “any direct role in managing the plaintiffs, hiring or firing the plaintiffs, determining
their work hours, or maintaining employment records”).


                                                  8
        Case 1:17-cv-07997-GBD Document 31 Filed 01/01/18 Page 10 of 12



       In fact, “information and belief” is not mentioned in the Federal Rules of Civil Procedure.

At least one court has repeatedly held that “information and belief” “is not a recognized pleading

device.” Delphix Corp. v. Actifo Inc., No. 13 Civ. 4613, at *2 (N.D. Cal. Mar. 19, 2014)

(Seeborg, J.). Moreover, “in some circumstances it gives rise to an inference that the pleader

lacks knowledge of underlying facts to support the allegations made, and is instead engaging in

speculation to an undue degree.” Id.; see also Frederick A. Brodie, Challenging Your Beliefs

About “Information and Belief,” 21 WESTLAW J. INTELL. PROP. (Aug. 20, 2014).

       Third, “piercing the corporate veil” requires a showing that: (1) the owners exercised

complete domination of the corporation in respect to the transaction attacked; and (2) “such

domination was used to commit a fraud or wrong against the plaintiff which resulted in

plaintiff’s injury.” Morris v. New York State Dept. of Taxation and Finance, 82 N.Y.2d 135, 141

(1993). There are simply no factual allegations that allow this Court to plausibly conclude that

the defendants had complete domination over one another, much that this domination “resulted

in plaintiff’s injury” of alleged FLSA and NYLL violations. See James v. Loran Realty V Corp.,

20 N.Y.3d 918, 919 (2012) (holding that because plaintiff failed to establish “that the individual

defendants took steps to render the corporate defendant insolvent in order to avoid plaintiffs’

claim for damages or otherwise defraud plaintiffs,” the corporate veil could not be pierced)

(emphasis added).8




8
  See also James v. Loran Realty V Corp., 85 A.D.3d 619, 619-620 (1st Dept. 2011) (holding that
plaintiffs failed to establish the requirements for individual liability because "they . . . failed to
show that [the individual defendants'] actions were for the purpose of leaving the corporation
judgment proof or that [their] actions amounted to a wrong against [the plaintiff]”); see generally
Law360, Top NY Court Affirms High Bar for Piercing Corporate Veil,
http://www.law360.com/articles/397410/top-ny-court-affirms-high-bar-for-piercing-corporate-
veil.


                                                  9
        Case 1:17-cv-07997-GBD Document 31 Filed 01/01/18 Page 11 of 12



       To the extent that Plaintiff seeks to hold any of the three defendants liable on this

“alternative” theory that the corporate veils should be pierced both horizontally (between the two

corporations despite no allegations of domination by one) and vertically (between the one

alleged owner and the each corporation separately), there are no factual allegations to support it

and the theory may not be plausibly asserted.

IV.    CONCLUSION

       Plaintiff offers labels, conclusions and a formulaic recitation of the elements to try an

establish employer liability. Courts have held that such allegations are insufficient to plausibly

show that a group of defendants were the joint employers of plaintiff for purposes of the FLSA

or NYLL. See Wolman v. Catholic Health Sys. of Long Island, Inc., 853 F. Supp. 2d 290, 299

(E.D.N.Y. 2012). Courts reject claims that “lump [multiple defendants] together as one in the

allegations.” Bravo v. Eastpoint Int’l, Inc., No. 99 Civ. 9474, 2001 WL 314622, at *2 (S.D.N.Y.

Mar. 30, 2001).

       To survive a motion to dismiss under Rule 12(b)(6), a complaint must plead “enough

facts to state a claim to relief that is plausible on its face.” Twombly, 550 U.S. at 570. Plaintiff

has failed to allege any facts – as opposed to bald legal conclusions – with respect to the

Defendants. For this reason, the claims against the Defendants should be dismissed.

Date: January 1, 2018
                                                             Respectfully submitted,

                                                             /s/ Brian Lehman
                                                             Brian Lehman
                                                             Lehman LG LLC
                                                             244 5th Ave., Suite B258
                                                             New York, NY 10001
                                                             Attorney for Defendants




                                                10
        Case 1:17-cv-07997-GBD Document 31 Filed 01/01/18 Page 12 of 12




                                CERTIFICATE OF SERVICE

       I hereby certify that on January 1, 2018, I electronically filed the foregoing with the Clerk

of the Court for the Southern District of New York by using the CM/ECF system. I certify that

all participants in the case are registered CM/ECF users and that service will be accomplished by

the CM/ECF system.




                                                                     /s/ Brian Lehman
                                                                         Brian Lehman




                                                11
